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     MICHAEL FLOWERS, LAUREN LEVITT, and
13   CHRISTOPHER MYRICK, individually and on
     behalf of all others similarly situated and the
14   general public
15                        UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
17   RAMZI ABED, MICHAEL                        CASE NO.
     FLOWERS, LAUREN LEVITT, and
18   CHRISTOPHER MYRICK,                        CLASS ACTION COMPLAINT
     individually and on behalf of all others   FOR DAMAGES AND
19   similarly situated and the general         INJUNCTIVE RELIEF AND
     public,                                    DEMAND FOR JURY TRIAL
20
                     PLAINTIFFS,                1. Knowing and/or Willful Violations
21                                                 of the Telephone Consumer
           v.                                      Protection Act (47 U.S.C. § 227, et
22                                                 seq.); and
     MIKE BLOOMBERG 2020, INC., a
23   Delaware corporation; and DOES 1           2. Violations of the Telephone
     thru 10, inclusive,                           Consumer Protection Act (47
24                                                 U.S.C. § 227, et seq.)
                     Defendants.
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                CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1                             GENERAL ALLEGATIONS
 2         PLAINTIFFS RAMZI ABED, MICHAEL FLOWERS, LAUREN LEVITT,
 3   and CHRISTOPHER MYRICK, individually and on behalf of themselves, all
 4   others similarly situated, and the general public, complain and allege on
 5   information and belief the following against DEFENDANTS MICHAEL
 6   BLOOMBERG 2020, INC., and DOES 1-10:
 7                                   INTRODUCTION
 8         1.     This is a class action, under Rule 23 of the Federal Rules of Civil
 9   Procedure, arising out of DEFENDANTS’ violations of the Telephone Consumer
10   Protection Act, 47 U.S.C. §§ 227, et seq. (“TCPA”). PLAINTIFFS bring this
11   Complaint to: (1) stop DEFENDANTS’ practice of sending text messages using an
12   “automatic telephone dialing system” (“ATDS”) to the cellular telephones of
13   consumers nationwide without their prior express written consent; (2) enjoin
14   DEFENDANTS from continuing to send autodialed text messages to consumers
15   who did not provide their prior express written consent to receive them; and (3)
16   obtain redress for all persons injured by DEFENDANTS’ conduct.
17                            JURISDICTION AND VENUE
18         2.     This Court has subject matter jurisdiction over this action pursuant to
19   the Class Action Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4 (“CAFA”), which,
20   inter alia, amends 28 U.S.C. § 1332, at new subsection (d), conferring federal
21   jurisdiction over class actions where, as here: (a) there are 100 or more members in
22   the proposed Class; (b) some members of the proposed Class have a citizenship
23   different from that of DEFENDANTS; and (c) the claims of the proposed Class
24   Members exceed the sum or value of five million dollars ($5,000,000) in aggregate.
25   See 28 U.S.C. § 1332(d)(2) and (6).
26         3.     This Court also has federal question jurisdiction pursuant to 28 U.S.C.
27   § 1331 because this action involves violations of a federal statute, the TCPA.
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 1         4.     This Court has personal jurisdiction over DEFENDANTS because the
 2   wrongful conduct giving rise to this case occurred in, was directed to, and/or
 3   emanated from this District.
 4         5.     Venue is proper in this District under 28 U.S.C. § 1391(b) because
 5   PLAINTIFFS reside in this District and because the wrongful conduct giving rise to
 6   this case occurred in, was directed to, and/or emanated from this District.
 7                                     THE PARTIES
 8         6.     PLAINTIFFS RAMZI ABED, MICHAEL FLOWERS, LAUREN
 9   LEVITT, and CHRISTOPHER MYRICK (“PLAINTIFFS”) are and at all relevant
10   times were residents of Los Angeles County and citizens of the State of California.
11         7.     DEFENDANT MIKE BLOOMBERG 2020, INC. (“BLOOMBERG”)
12   is a corporation organized under the laws of the State of Delaware, maintaining
13   principal offices for its California operations in Los Angeles, California, conducting
14   business in Los Angeles County and throughout the United States, and is the
15   principal campaign committee for the 2020 presidential campaign of Michael
16   Rubens Bloomberg.
17         8.     During all times relevant to PLAINTIFFS’ claims, DEFENDANTS
18   BLOOMBERG and DOES 1 through 10, and each of them, individually or jointly,
19   directly or indirectly, directed and authorized all of the unlawful text messages
20   described herein, and were intimately involved in the program to send these texts,
21   including the selection of the calling equipment and/or platform. DEFENDANT
22   BLOOMBERG was the guiding spirit and central figure behind these unlawful
23   messages being sent in the manner they were. The unlawful messages were sent for
24   DEFENDANT BLOOMBERG’s direct benefit and for the express purpose of
25   promoting DEFENDANT BLOOMBERG’s efforts to obtain money from
26   consumers in California and throughout the United States in support of his 2020
27   presidential campaign.
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 1         9.     The true names and capacities, whether individual, corporate,
 2   associate, or otherwise, of Defendants sued herein as DOES 1 through 10,
 3   inclusive, are currently unknown to PLAINTIFFS, who therefore sue Defendants
 4   by such fictitious names under California Code of Civil Procedure section 474.
 5   PLAINTIFFS are informed and believe, and based thereon allege, that each of the
 6   Defendants designated herein as a Doe is legally responsible in some manner for
 7   the unlawful acts referred to herein. PLAINTIFFS will seek leave of Court to
 8   amend this Complaint to reflect the true names and capacities of the Defendants
 9   designated hereinafter as DOES when such identities become known.
10         10.    PLAINTIFFS are informed and believe, and based thereon allege, that
11   each of the DEFENDANTS acted in all respects pertinent to this action as the
12   agent of the other DEFENDANTS, carried out a joint scheme, business plan or
13   policy in all respects pertinent hereto, and the acts of each DEFENDANT are
14   legally attributable to the other DEFENDANTS.
15         11.    PLAINTIFFS are informed and believe, and thereon allege, that each
16   and all of the acts and omissions alleged herein were performed by, and/or
17   attributable to, all DEFENDANTS, each acting as agents and/or employees, and/or
18   under the direction and control of each of the other DEFENDANTS, and that said
19   acts and failures to act were within the course and scope of said agency,
20   employment and/or direction and control. PLAINTIFFS are informed and believe,
21   and thereon allege, that at all times material hereto DEFENDANTS were and are
22   the agents of each other.
23                 FACTS COMMON TO ALL CAUSES OF ACTION
24         A.     The TCPA of 1991
25         12.    In 1991, Congress enacted the TCPA in response to a growing number
26   of consumer complaints regarding certain telemarketing practices.
27         13.    The TCPA regulates, among other things, the use of automated
28   telephone equipment, or “autodialers,” defined as equipment which “has the
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 1   capacity . . . (a) to store or produce telephone numbers to be called, using a random
 2   or sequential number generator; and (b) to dial such numbers.”          47 U.S.C. §
 3   227(a)(1). Specifically, the plain language of section 227(b)(1)(A)(iii) prohibits the
 4   use of autodialers to make any call to a wireless number in the absence of an
 5   emergency or the prior express consent of the called party.
 6         14.    The FCC has issued rulings clarifying that in order to obtain an
 7   individual’s consent, a clear, unambiguous, and conspicuous written disclosure
 8   must be provided by the individual. 2012 FCC Order, 27 FCC Rcd. at 1839
 9   (“[R]equiring prior written consent will better protect consumer privacy because
10   such consent requires conspicuous action by the consumer—providing permission
11   in writing—to authorize autodialed or prerecorded telemarketing calls....”).
12         15.    The FCC has also ruled that consumers are entitled to the same
13   protections for text messages as they are for calls to wireless numbers.          See
14   Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (“The FCC
15   has subsequently confirmed that the prohibition on using automatic telephone
16   dialing systems to make calls to wireless phone numbers applies to text messages
17   (e.g. phone-to-phone [short message service]), as well as voice calls.”) (internal
18   quotations omitted).
19         B.     Defendants’ Text Messages to Plaintiffs and Class Members
20         16.    Beginning in 2020, DEFENDANTS BLOOMBERG and DOES 1
21   through 10, and each of them, individually or jointly, directly or indirectly, sent
22   multiple unsolicited, non-emergency text messages to the cell phones of
23   PLAINTIFFS and other telephone consumers throughout California and the United
24   States promoting the 2020 presidential campaign of Michael Rubens Bloomberg,
25   and they did so with full knowledge as to the lack of requisite consent that
26   DEFENDANTS knew was necessary for their messages to have been lawfully
27   texted to consumers in the manner in which they were. The text messages were
28   impersonal and generic, a hallmark of DEFENDANT BLOOMBERG.
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 1         17.      DEFENDANTS sent the text messages on behalf of DEFENDANT
 2   BLOOMBERG using an automatic telephone dialing system (“ATDS”) without
 3   obtaining PLAINTIFFS’ prior express written consent.         The ATDS used was
 4   created by Hustle, Inc., which is the developer and provider of a software based text
 5   messaging platform that promotes having the ability to send thousands of messages
 6   in minutes.
 7         18.      DEFENDANT BLOOMBERG, on the main landing page for the 2020
 8   campaign, demonstrates its awareness of the law’s requirement of consumer
 9   consent for such text messages by prominently featuring a form for its website
10   visitors to provide their email address, zip code, and mobile number, coupled with
11   the following language: “By providing your number, you are agreeing to receiving
12   campaign updates via text message from Mike Bloomberg 2020.”
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24   See Mike Bloomberg 2020, at www.mikebloomberg.com (last visited Mar. 4,
25   2020) (emphasis added).
26         19.      Hustle, on its webpage, boasts about how its platform enables
27   campaigns like that of DEFENDANT BLOOMBERG to send literally “thousands
28   of messages in minutes”, and similarly demonstrates its awareness that the
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                   CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1   recipients of its automated mass message blasts must first have consented to
 2   receiving the texts, stating as follows:
 3
                  Hustle is built for organizations to text contacts that they
 4                have a pre-existing relationship with, in a compliant way.
 5
                  Organizations can text anyone who previously provided
                  their contact information, for example: . . . Donated in
 6                the last 18 months . . . .
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     See Hustle, Inc., Who Can You Text?, at www.hustle.com/how-it-works (last
21
     visited Mar. 4, 2020).
22
           20.    Hustle further acknowledges the intrusiveness of unsolicited text
23
     messages that the TCPA prohibits and which its automation platform knowingly
24
     facilitates, encouraging campaigns like that of DEFENDANT BLOOMBERG to
25
     “[b]reak through by using the medium people pay attention to,” and its software’s
26
     ability to confer the power to “carry out over a thousand conversations per hour.”
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 1   See Hustle, Inc., Solve Your Fundraising Challenges Quickly and Simply, at
 2   www.hustle.com/fundraising (last visited Mar. 4, 2020).
 3         21.    Upon information and belief, DEFENDANTS’ text messages to
 4   PLAINTIFFS originated from telephone numbers owned and operated by
 5   DEFENDANTS.
 6         22.    PLAINTIFFS never consented in writing, or otherwise, to receive
 7   autodialed text messages from DEFENDANTS relating to Mr. Bloomberg’s
 8   controversial and surprising candidacy as a Democrat. Prior to the text messages at
 9   issue in this action, PLAINTIFFS RAMZI ABED, MICHAEL FLOWERS,
10   LAUREN LEVITT, and CHRISTOPHER MYRICK had no contact with any of the
11   DEFENDANTS, did not have a pre-existing relationship with DEFENDANTS, and
12   never gave their prior consent to receiving DEFENDANTS’ text messages on their
13   cellular phones soliciting them to support Mr. Bloomberg or contribute to his
14   campaign.     PLAINTIFFS never provided their mobile phone numbers to
15   DEFENDANT BLOOMBERG through the online form on its webpage as
16   described above for that ostensible purpose, nor did they ever donate to
17   DEFENDANT BLOOMBERG in the purportedly illustrative example Hustle
18   conflates on its website as an example of consumer consent. PLAINTIFFS did not
19   and do not support Mr. Bloomberg, and the text messages willfully sent to them by
20   DEFENDANTS in the absence of their consent which DEFENDANTS knew was
21   required under the TCPA was not only violative of PLAINTIFFS’ rights under the
22   law, but was offensive to PLAINTIFFS who desire and have the right to be free
23   from such harassment.
24                           CLASS ACTION ALLEGATIONS
25         23.    PLAINTIFFS bring this action on behalf of themselves individually
26   and all others similarly situated as a class action pursuant to Rule 23 of the Federal
27   Rules of Civil Procedure, on behalf of the class composed of and defined as follows
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 1   (herein referred to as the “Class” and its putative members as the “Class
 2   Members”):
 3                All persons within the United States who (a) received a
                  text message on his or her cellular telephone; (b) made by
 4                or on behalf of DEFENDANTS; (c) without giving prior
                  express written consent to DEFENDANTS; (d) at any
 5                time in the period that begins four years before the filing
                  of the complaint in this action to the date that class notice
 6                is disseminated.
 7         24.    PLAINTIFFS represent, and are members of, this proposed Class.
 8   Excluded from the Class are DEFENDANTS and any entities in which
 9   DEFENDANTS have a controlling interest, DEFENDANTS’ agents and
10   employees, any Judge and/or Magistrate Judge to whom this action is assigned, and
11   any member of such Judges’ staffs and immediate families.
12         25.    Numerosity.       PLAINTIFFS do not know the exact number of
13   members in the proposed Class, but reasonably believe, based on the scale of
14   DEFENDANTS’ business, that the Class is so numerous that individual joinder
15   would be impracticable.
16         26.    Existence and predominance of common questions of law and fact.
17   PLAINTIFFS and all members of the proposed Class have been harmed by the acts
18   of DEFENDANTS in the form of multiple involuntary telephone and electrical
19   charges, the aggravation, nuisance, and invasion of privacy that necessarily
20   accompanies the receipt of unsolicited and harassing and offensive text messages,
21   and violations of their statutory rights.
22         27.    The disposition of the claims in a class action will provide substantial
23   benefit to the Parties and the Court in avoiding a plethora of identical suits.
24         28.    The proposed Class can be easily identified through records
25   maintained by DEFENDANTS.
26         29.    There are well defined, nearly identical, questions of law and fact
27   affecting all Parties. The questions of law and fact involving the Class claims
28   predominate over questions which may affect individual members of the proposed
                                                 8
                 CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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  1   Class. Those common question of law and fact include, but are not limited to, the
  2   following:
  3                 a. Whether Defendants sent text messages to Plaintiff and class
  4         members using an ATDS without their prior express written consent;
  5                 b. Whether Defendants’ conduct was knowing and/or willful;
  6                 c. Whether Defendants are liable for damages, and the amount of such
  7         damages; and
  8                 d. Whether Defendants should be enjoined from engaging in such
  9         conduct in the future.
 10         30.     Typicality.   PLAINTIFFS assert claims that are typical of each
 11   member of the Class because they are all persons who received text messages on
 12   their cellular telephones through DEFENDANTS’ use of an ATDS without their
 13   prior express written consent.
 14         31.     Adequacy of Representation.          PLAINTIFFS will fairly and
 15   adequately represent and protect the interests of the proposed Class, and have no
 16   interests which are antagonistic to any member of the proposed Class.
 17         32.     PLAINTIFFS have retained counsel experienced in handling class
 18   action claims involving violations of federal and state consumer protection statutes.
 19         33.     Superiority. A class action is the superior method for the fair and
 20   efficient adjudication of this controversy.
 21         34.     Class-wide relief is essential to compel DEFENDANTS to comply
 22   with the TCPA.
 23         35.     The interest of the members of the proposed Class in individually
 24   controlling the prosecution of separate claims against DEFENDANTS is small
 25   because the statutory damages in an individual action for violation of the TCPA are
 26   relatively small.
 27         36.     Management of these claims is likely to present significantly fewer
 28   difficulties than are presented in many class claims because the text messages at
                                                    9
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  1   issue are all automated and the members of the Class, by definition, did not provide
  2   the prior express written consent required under the statute to authorize text
  3   messages to their cellular telephones.
  4         37.    DEFENDANTS have acted on grounds generally applicable to the
  5   proposed Class, thereby making final injunctive relief and corresponding
  6   declaratory relief with respect to the proposed Class as a whole appropriate.
  7         38.    Moreover, upon information and belief, PLAINTIFFS allege that the
  8   TCPA violations complained of herein are substantially likely to continue in the
  9   future if an injunction is not entered.
 10                               FIRST CAUSE OF ACTION
 11                   KNOWING AND/OR WILLFUL VIOLATIONS
 12               OF THE TELEPHONE CONSUMER PROTECTION ACT
 13                                 (47 U.S.C. §§ 227, et seq.)
 14         39.    As a separate and distinct cause of action against all DEFENDANTS,
 15   PLAINTIFFS reallege and incorporate by reference, as though fully set forth
 16   herein, all the foregoing paragraphs of this Complaint as if fully stated herein,
 17   excepting those allegations which are inconsistent with this cause of action.
 18         40.    The foregoing acts and omissions of DEFENDANTS constitute
 19   knowing and/or willful violations of the TCPA, including but not limited to each of
 20   the above-cited provisions of 47 U.S.C. §§ 227, et seq.
 21         41.    As a result of DEFENDANTS’ knowing and/or willful violations of 47
 22   U.S.C. §§ 227, et seq., PLAINTIFFS and members of the proposed Class are
 23   entitled to treble damages of up to $1,500.00 for each and every text message sent
 24   in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(C).
 25         42.    PLAINTIFFS and members of the proposed Class are also entitled to
 26   and do seek injunctive relief prohibiting such conduct violating the TCPA by
 27   DEFENDANTS in the future.
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  1         43.    PLAINTIFFS and members of the proposed Class are also entitled to
  2   an award of attorneys’ fees and costs.
  3         44.    WHEREFORE, PLAINTIFFS request relief as hereafter provided.
  4                            SECOND CAUSE OF ACTION
  5    VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
  6                                (47 U.S.C. §§ 227, et seq.)
  7         45.    As a separate and distinct cause of action against all DEFENDANTS,
  8   PLAINTIFFS reallege and incorporate by reference, as though fully set forth
  9   herein, all the foregoing paragraphs of this Complaint as if fully stated herein,
 10   excepting those allegations which are inconsistent with this cause of action.
 11         46.    The foregoing acts and omissions of DEFENDANTS constitute
 12   numerous and multiple violations of the TCPA, including but not limited to each of
 13   the above-cited provisions of 47 U.S.C. §§ 227, et seq.
 14         47.    As a result of DEFENDANTS’ violations of 47 U.S.C. §§ 227, et seq.,
 15   PLAINTIFFS and members of the proposed Class are entitled to an award of
 16   $500.00 in statutory damages for each and every text message made in violation of
 17   the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).
 18         48.    PLAINTIFFS and members of the proposed Class are also entitled to
 19   and do seek injunctive relief prohibiting such conduct violating the TCPA by
 20   DEFENDANTS in the future.
 21         49.    PLAINTIFFS and members of the proposed Class are also entitled to
 22   an award of attorneys’ fees and costs.
 23         50.    WHEREFORE, PLAINTIFFS request relief as hereafter provided.
 24                                PRAYER FOR RELIEF
 25         WHEREFORE, PLAINTIFFS pray for relief and judgment against all
 26   DEFENDANTS, jointly and severally, as follows:
 27         1.     For an order determining that this action may be maintained as a class
 28   action under Rule 23 of the Federal Rules of Civil Procedure;
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                  CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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  1         2.    For an order appointing PLAINTIFFS as the representatives of the
  2   Class as indicated and defined herein;
  3         3.    For an order appointing PLAINTIFFS’ counsel as Class Counsel;
  4         4.    For injunctive relief, including an order prohibiting such violations of
  5   the TCPA by DEFENDANTS in the future;
  6         5.    For DEFENDANTS’ willful and/or knowing violations of the TCPA,
  7   PLAINTIFFS seek for themselves and each member of the proposed Class treble
  8   damages, as provided by statute, of up to $1,500.00 for each and every text message
  9   that violated the TCPA.
 10         6.    For DEFENDANTS’ violations of the TCPA, PLAINTIFFS seek for
 11   themselves and each member of the proposed Class $500.00 in statutory damages
 12   for each and every text message that violated the TCPA.
 13         7.    For an award of attorneys’ fees and costs as allowed by applicable law;
 14         8.    For interest accrued to date; and
 15         9.    For such other and further relief as this Court may deem appropriate.
 16

 17   Dated:      March 6, 2020        Respectfully submitted,
 18                                    PARRIS LAW FIRM
 19                                    DADGOSTAR LAW LLP
 20

 21                                    By: /s/ John M. Bickford
                                           R. Rex Parris
 22                                        Alexander R. Wheeler
                                           John M. Bickford
 23                                        Hirad D. Dadgostar
                                           Azadeh Dadgostar Gilbert
 24
                                       Attorneys for PLAINTIFFS and Proposed Class
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  1                            DEMAND FOR JURY TRIAL
  2          PLAINTIFFS and Class Members hereby demand a trial by jury on all issues
  3   so triable.
  4
      Dated:        March 6, 2020     Respectfully submitted,
  5
                                      PARRIS LAW FIRM
  6
                                      DADGOSTAR LAW LLP
  7

  8
                                      By: /s/ John M. Bickford
  9                                       R. Rex Parris
                                          Alexander R. Wheeler
 10                                       John M. Bickford
                                          Hirad D. Dadgostar
 11                                       Azadeh Dadgostar Gilbert
 12                                   Attorneys for PLAINTIFFS and Proposed Class
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                                    DEMAND FOR JURY TRIAL
